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                                                 #:53472



                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES—GENERAL

 Case No.       CV 85-4544-DMG (AGRx)                                             Date     June 3, 2025

 Title Jenny L Flores, et al. v. Pamela Bondi, et al.                                            Page     1 of 1


 Present: The Honorable          DOLLY M. GEE, CHIEF UNITED STATES DISTRICT JUDGE

               DEREK DAVIS                                                       NOT REPORTED
                Deputy Clerk                                                      Court Reporter

     Attorneys Present for Plaintiff(s)                                 Attorneys Present for Defendant(s)
              None Present                                                        None Present

Proceedings: IN CHAMBERS—ORDER RE INTERIM JUVENILE CARE MONITOR
             REPORT AND STATUS CONFERENCE [1570] 1

       On May 27, 2025, the Flores Juvenile Care Monitor (“JCM”) submitted an Interim Report
presenting his observations and assessments of the conditions for minors held in U.S. Customs and
Border Protection (“CBP”) facilities in the Rio Grande Valley and El Paso sectors. [Doc. # 1570.]
The Interim Report also included the observations and assessments made by the JCM’s Legal and
Medical Advisors.

        On January 30, 2025, the Court extended the JCM’s term until June 27, 2025. [Doc. # 1547.]
In doing so, the Court erroneously set the deadline for the JCM’s report for a date after the expiration
of his term but coinciding with the CBP Juvenile Coordinator’s annual report, the parties’ responses
thereto, and the accompanying status conference. [See Doc. # 1455.] In light of the upcoming
expiration of the JCM’s term and the recently filed Interim Report, the Court hereby MODIFIES the
deadlines and status conference with regard to the JCM only and RESETS them as follows:

    1. The parties shall file their responses, if any, to the JCM’s Interim Report by June 10, 2025;

    2. The JCM shall file his Final Report by June 17, 2025;

    3. The Court will hold a status conference regarding the JCM’s Final Report, and any responses
       thereto, on June 23, 2025 at 11:00 a.m. The CBP Juvenile Coordinator shall attend this
       conference; and

    4. The dates and deadlines set forth in the Court’s order at Doc. # 1455 remain in effect as to the
       CBP Juvenile Coordinator.

IT IS SO ORDERED.

         1
          Pursuant to Federal Rule of Civil Procedure 25(d), the Court substitutes Attorney General Pamela Bondi for
former Attorney General Merrick Garland.
 CV-90                                   CIVIL MINUTES—GENERAL                           Initials of Deputy Clerk DD
